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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF CONNECTICUT

JOSE PEREZ,                        :
          Petitioner,              :
                                   :
v.                                 :     Crim. No. 3:97cr48 (AHN)
                                   :     Civ. No. 3:02cv708 (AHN)
UNITED STATES OF AMERICA,          :
          Respondent.              :


           RULING ON PETITION FOR A WRIT OF HABEAS CORPUS

      On April 30, 1998 a jury convicted petitioner Jose Perez

(“Perez”) of various racketeering and drug-trafficking charges,

and the court sentenced him to 20 years imprisonment.              He

appealed his conviction, and the Second Circuit affirmed.               See

United States v. Perez, 99-1151, 2000 U.S. App. LEXIS 31506 (2d

Cir. Dec. 7, 2000).      Perez now petitions the court for a writ of

habeas corpus [doc # 1407], pursuant to 28 U.S.C. § 2255,

alleging that (1) he received ineffective assistance of counsel,

and (2) his sentence violates the rule in Apprendi v. New Jersey,

530 U.S. 466 (2000), because the court, and not a jury,

determined the quantity and type of drugs that he distributed.

The court concludes that Perez’s challenges to his conviction and

sentencing are without merit, and thus the petition for a writ of

habeas corpus [doc # 1407] is DENIED.

                   BACKGROUND AND PROCEDURAL HISTORY

      Perez, also known as “Cobra,” was an “enforcer” for the

Latin Kings street gang, whose members trafficked drugs and

committed numerous other crimes.        In December 1997, a grand jury
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indicted Perez for racketeering, racketeering conspiracy, Violent

Crimes in Aid of Racketeering, and conspiracy to distribute

narcotics.   In April 1998, a petit jury found Perez guilty of

these four counts.    The court sentenced him to three terms of 20

years imprisonment and one term of 10 years imprisonment, all of

the sentences to run concurrently.

     Perez appealed his conviction to the Second Circuit,

alleging that the district court erred in (1) restricting

cross-examination of a police witness; (2) admitting evidence of

uncharged crimes; (3) permitting the government to refer to facts

not in the record in its closing argument; and (4) refusing to

grant an acquittal on the narcotics conspiracy charge.            See

Perez, 2000 U.S. App. LEXIS 31506, at *2.        The Second Circuit

rejected these arguments and affirmed Perez’s conviction.             See

id. at *1.

                               DISCUSSION

     Perez now collaterally challenges his conviction and

sentence on two grounds.     First, he contends that he received

ineffective assistance of counsel concerning his attorney’s

handling of a proposed plea agreement, the calculation of Perez’s

criminal history in the Pre-Sentence Report (“PSR”), and

counsel’s selection of issues for appeal.        Second, he maintains

that his sentence was based on a finding of drug type and

quantity made “by the court, instead of the jury, which exposed


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[him] to a sentence greater than that authorized by the jury’s

verdict.”    The government counters that Perez’s counsel did

advise him of the government’s plea offer, and that Perez’s

conclusory allegations do not establish that his counsel’s

performance was deficient under Strickland v. Washington, 466

U.S. 668 (1984).     The government argues that Apprendi does not

apply to Perez because the court never enhanced his sentence

beyond the statutory maximum.       The court agrees that Perez’s

claims are meritless.

I.   Ineffective Assistance of Counsel

       To prevail as a habeas petitioner on a claim of

constitutionally inadequate counsel, Perez must overcome the

strong presumption that counsel provides effective assistance.

See Strickland, 466 U.S. at 688.         The Second Circuit has

repeatedly “declined to deem counsel ineffective notwithstanding

a course of action (or inaction) that seems risky, unorthodox or

downright ill-advised.”       See Loliscio v. Goord, 263 F.3d 178, 195

(2d Cir. 2001).     Under Strickland, a habeas petitioner claiming

ineffective assistance of counsel must make a two-part showing.

First, the petitioner must demonstrate that counsel’s performance

was deficient -- that is, errors were made of such serious

magnitude that the petitioner was deprived of the counsel

guaranteed by the Sixth Amendment.         See Strickland, 466 U.S. at

687.    Second, the petitioner must show that there is a reasonable

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probability that, but for counsel’s deficient performance, the

result would have been different.      See id. at 694.

     Perez contends that his counsel was ineffective on a number

of grounds.   He maintains that the representation he received was

deficient because his appointed counsel failed to ensure that he

“was aware of the consequences of a trial, and failed to

adequately advise him as to whether to accept a proposed plea

agreement that called for a greatly reduced sentence.”            He also

argues that counsel made two errors with regard to Perez’s PSR --

he failed to object to the PSR’s calculation of his criminal

history, and although counsel did object to his enhancement for

possession of a weapon, he did not pursue the issue on appeal.1

The court concludes that Perez has not shown that his

representation on these matters was in any way deficient as

Strickland requires.2

     1
       Perez’s § 2255 petition raises only the first ground
discussed here for ineffective assistance of counsel -- that
counsel failed to advise him of the consequences of proceeding to
trial. Perez’s other challenges to the competence of his
attorney appear in his supplement [doc # 1519] to his petition,
filed February 13, 2006 with permission of the court.
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       Perez’s supplement [doc # 1519] to his § 2255 petition
also contends that counsel provided ineffective representation
because he failed to raise a Sixth Amendment challenge to the
court’s finding of the quantity and type of drugs involved for
purposes of his sentencing. This claim faults counsel for
failing to pursue the Apprendi issue. The court has treated
Perez’s Apprendi argument as a separate substantive argument in
support of his § 2255 petition distinct from its basis for the
ineffective assistance of counsel claim, see infra. Because the
court determines that Perez’s sentence does not violate Apprendi,

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     A.   Explanation of Consequences of Going to Trial

     Perez argues that his counsel failed to inform him “of the

consequences of a trial, and failed to adequately advise him as

to whether to accept a proposed plea agreement that called for a

greatly reduced sentence.”     Perez offers no details whatsoever to

support his allegations.     Presumably, he refers to Assistant

United States Attorney Joseph Martini’s January 16, 1998 letter

offering a plea bargain whereby Perez would plead guilty to

racketeering in exchange for dismissal of the remaining counts

against him.

     As the government points out, however, there is no reason to

suppose that counsel did not communicate this proposed plea

agreement to Perez or that counsel failed to inform him of the

risks of rejecting the deal and proceeding to trial.           In an

affidavit attached to the government’s response [doc # 1454],

Perez’s counsel, David Wenc (“Wenc”), indicates that he mailed

Perez a copy of the proposed plea agreement on January 22, 1998.

Wenc advised Perez to accept the plea agreement because “it would

greatly reduce his exposure to a lengthy term of incarceration.”

Perez, however, insisted that he was innocent, rejected Wenc’s

advice, and proceeded to the trial at which he was convicted.

     These communications demonstrate that counsel did inform



the court concludes that counsel was not deficient in failing to
raise this issue with the court at sentencing.

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Perez about the government’s proposed plea agreement and the

advantages of accepting it.     Perez’s decision to proceed to trial

stemmed not from his reliance on the incompetent advice of

counsel but instead from Perez’s refusal to rely on the competent

advice of counsel.

     B.   Failure to Object to Calculation of Criminal History

     Perez also contends that he received ineffective assistance

of counsel because his attorney failed to object at sentencing to

the PSR’s placement of Perez in criminal history category III.

Specifically, he claims that the PSR erroneously treated his

sentences for two state offenses as unrelated and assigned him

one point for each, instead of treating them as one sentence for

related offenses.    The court disagrees, and determines that

Perez’s counsel did not show any incompetence, let alone such

incompetence as would satisfy Strickland, in failing to object to

this calculation.

     The Sentencing Guidelines provide that for purposes of

computing a defendant’s criminal history, “[p]rior sentences

imposed in unrelated cases are to be counted separately,” while

“[p]rior sentences imposed in related cases are to be treated as

one sentence . . .”     U.S. Sentencing Guidelines Manual §

4A1.2(a)(2) (1998).    The application notes explain that “[p]rior

sentences are not considered related if they were for offenses

that were separated by an intervening arrest (i.e., the defendant


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is arrested for the first offense prior to committing the second

offense).”   Id. application note 3.        Perez contends that he was

arrested for failure to appear in Connecticut state court on

March 30, 1989, and that on October 24, 1989, while he remained

incarcerated, he was charged with larceny.         He appears to argue

that the fact he was already in custody when he was charged with

larceny means that the two offense were not “separated by an

intervening arrest,” and thus the sentences were for related

offenses.

     Perez’s argument is illogical.         The proposition that an

intervening arrest demonstrates that two offenses are unrelated

does not support the proposition that the lack of an intervening

arrest demonstrates that two offenses are related.            Perez’s logic

would dictate that if, for example, an inmate convicted of tax

evasion were to assault a prison guard, his sentences for tax

evasion and assault would be considered related for purposes of

determining his criminal history because the inmate remained

incarcerated and there was thus no intervening arrest.             Perez

presents no evidence that his failure to appear and larceny

convictions should be considered separate offenses under §

4A1.2(a)(2), and his counsel was not ineffective for failing to

object at sentencing to the PSR’s calculation of his criminal

history.




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     C.    Selection of Issues for Appeal

     Perez also challenges the competency of his counsel because

of the issues counsel chose to raise on appeal.          The PSR

recommended an increase of two points in Perez’s base offense

level for possession of a dangerous weapon.         Perez’s counsel

objected to this calculation at sentencing, but did not raise the

issue on appeal.    Perez contends that his counsel’s performance

was deficient for failing to pursue this issue with the Second

Circuit.    The court disagrees.

     It is well-established that a defendant has no

constitutional right to select which issues his attorney must

raise on appeal.    See Jones v. Barnes, 463 U.S. 745, 750-51

(1983).    In fact, the “process of winnowing out weaker arguments

on appeal and focusing on those more likely to prevail, far from

being evidence of incompetence, is the hallmark of effective

appellate advocacy.”    See Smith v. Murray, 477 U.S. 527, 536

(1986).    Perez’s counsel was entirely reasonable in judging that

this court’s application of § 2D1.1 of the Sentencing Guidelines

would not be grounds for reversal of the sentence.           A “sentencing

court’s finding that a firearm was possessed in connection with a

drug offense for purposes of § 2D1.1 will not be overturned

unless it is clearly erroneous.”       See United States v. Santiago,

384 F.3d 31, 33 (2d Cir. 2004).

     In fact, this court’s application of a § 2D1.1 adjustment to


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Perez’s sentence was correct.      The Sentencing Guidelines provide

that a defendant’s base offense level is to be increased by two

levels “[i]f a dangerous weapon (including a firearm) was

possessed.”    U.S. Sentencing Guidelines Manual § 2D1.1(b)(1)

(1998).    The application notes explain that the “adjustment

should be applied if the weapon was present, unless it is clearly

improbable that the weapon was connected with the offense.”               Id.

application note 3.     The plain language of § 2D1.1(b)(1)

indicates that the adjustment does not require that the defendant

intend to use weapons in the course of his drug-trafficking.                  See

Santiago, 384 F.3d at 33 (possession of the weapon need only be

“relevant” to the drug-trafficking activity).          Rather, the notes

observe that the adjustment “reflects the increased danger of

violence when drug traffickers possess weapons.”              U.S. Sentencing

Guidelines Manual § 2D1.1, application note 3 (1998)(emphasis

added).    Perez thus concedes in his petition that the adjustment

was warranted because he brought a book bag of firearms to the

drug block.    It is immaterial that a co-defendant told him that

the firearms would not be needed.       In bringing the firearms to

the drug block, Perez increased the danger of violence, even if

after speaking with his co-defendant he had no intent to use

them.3    Thus, Perez’s counsel was not remiss for failing to

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       Perez also contends that his weapons “were not connected
to the sales of controlled substances;” rather, they were “for
use in ‘missions’ against rival gangs.” However, the use of

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pursue this issue on appeal.

II.    Apprendi Claim

       Perez also argues that his sentencing violates Apprendi

because the court sentenced him based on its own finding, rather

than that of a jury, as to the quantity and type of drugs

involved in the conspiracy.         The government responds that

Apprendi only prevents the court from enhancing a defendant’s

sentence beyond the statutory maximum based on facts not found by

a jury, and that Perez was sentenced only to the statutory

maximum.     The court agrees.

       The Supreme Court’s holding in Apprendi was, as the

government correctly observes, far narrower than Perez contends.

The Court did not declare any enhancement of a defendant’s

sentence based on facts found by a judge rather than a jury to

violate the Sixth Amendment.         See United States v. Booker, 543

U.S. 220, 240 (2005)(“there are many situations in which the

district judge might find that the enhancement is warranted, yet

still sentence the defendant within the range authorized by the

jury”).     Rather, the Apprendi court held only that “[o]ther than

the fact of a prior conviction, any fact that increases the



weapons in protecting the Latin Kings’ turf against rival drug-
traffickers also provides a sufficient nexus to support the
court’s § 2D1.1 adjustment. See United States v. Santiago, 384
F.3d 31, 34 (2d Cir. 2004) (upholding the application of a §
2D1.1 adjustment where the defendant “possessed the firearms to
protect his drug-related activities”).

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penalty for a crime beyond the prescribed statutory maximum must

be submitted to a jury, and proved beyond a reasonable doubt.”

See Apprendi, 530 U.S. at 490 (emphasis added).

     This court, however, sentenced Perez to exactly the

statutory maximum and nothing more.         Congress has provided that

one who is convicted of distributing Schedule I or II controlled

substances “shall be sentenced to a term of imprisonment of not

more than 20 years,” see 21 U.S.C. § 841(b)(1)(c), and this court

sentenced him to 20 years, to run concurrently with the other 20-

year sentences Perez received for his racketeering activities.

Perez’s sentence, therefore, does not violate the Sixth Amendment

as interpreted by Apprendi.

                               CONCLUSION

     For the foregoing reasons, Perez’s petition for a writ of

habeas corpus [doc # 1407] is DENIED.        Because petitioner fails

to make a substantial showing of the denial of a constitutional

right, a certificate of appealability shall not issue.             See 28

U.S.C. § 2253.

     So ordered this 10th day of July, 2006, at Bridgeport,

Connecticut.




                                  ________/s/___________________
                                  Alan H. Nevas,
                                  United States District Judge


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